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                      EXHIBIT 3

                     Proof of Claim
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Claim Number: 3
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 - G i v e Information About the Claim as of the Date the Case Was Filed

6. Do you have any number          ~ No
    you use to identify the        0     Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: ________
    debtor?



                                                              $115,887.07
7. How much is the claim?                $._ _ _ _ _ _ __ _ _ _ _ _. Does this amount include interest or other charges?
                                                                                Ia   No
                                                                                0    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                          charges required by Bankruptcy Rule 3001(c)(2)(A) .
I
8. What is the basis ofthe         Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card .
     claim?
                                   Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).

                                   Limit disclosing information that is entitled to privacy, such as health care information.



                                         Services performed .

9. Is all or part of the claim     lia No
     secured?                      0 Yes. The claim is secured by a lien on property.
                                               Nature of property:
                                               0   Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 41 0-A) with this Proof of Claim.
                                               0   Motor vehicle
                                               0   Other. Describe:



                                               Basis for perfection:
                                              Attach redacted copies of documents, if any, that show evidence of perfection of a security interest(for
                                              example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                              been filed or recorded.)

                                              Value of property :                           $._ _ _ _ _ _ __


                                              Amount of the claim that is secured:          $._ _ _ _ _ _ __



                                              Amount of the claim that is unsecured: $_ _ _ _ __ _ _(The sum of the secured and unsecured
                                                                                                    amounts should match the amount in line 7.)


                                              Amount necessary to cure any default as of the date of the petition:              $._ _ _ _ _ _ _ __



                                              Annual Interest Rate (when case was filed)              %
                                              0    Fixed
                                              0    Variable


110. Is this claim based on a      i2l No
     lease?
                                   0 Yes. Amount necessary to cure any default as of the date of the petition.                  $._ _ _ _ _ _ _ __


11 . Is this claim subject to a    i2l   No
     right of setoff?
                                   0     Yes. Identify the property: - - - - - - - -- - - - - - -- - - - - - - - -- - - -




    Official Form 410                                                    Proof of Claim                                                           page 2
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12. Is all or part of the claim    ~No
    entitled to priority under
    11 U.S.C. § 507(a)?             [J Yes. Check one:                                                                                               Amount entitled to priority

    A claim may be partly                 [J Domestic support obligations (including alimony and child support) under                               $_ _ _ _ _ __
    priority and partly                       11 U.S.C. § 507(a)(1 )(A) or (a)(1 )(B).
    nonpriority. For example,
    in some categories, the               [J Up to $2,850• of deposits toward purchase, lease, or rental of property or services for
                                              personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $,_ _ _ _ _ __
    law limits the amount
    entitled to priority.
                                          [J Wages, salaries, or commissions (up to $12,850•) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                     $,_ _ _ _ _ _ __
                                              11 U.S.C. § 507(a){4).
                                          [J Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                  $_ _ _ _ _ _ _ __

                                          [J Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $_ _ _ _ _ _ __
                                                                                                                                                    $_ _ _ _ _ _ _
                                          [J Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.

                                          • Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.


b3. Isclaim
        all or part of the
             entitled to
                                  ~No
    administrative priority        [J Yes. Indicate the amount of your claim arising from the value of any goods received                           $._ _ _ _ _ _ _ __
    pursuant to                           by the Debtor within 20 days before the date of commencement of the above case, In
    11 u.s.c. § 503(b)(9)?                which the goods have been sold to the Debtor in the ordinary course of such
                                          Debtor's business. Attach documentation supporting such claim.



              Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ia      I am the creditor.
 FRBP 9011(b).                    [J I am the creditor's attorney or authorized agent.
 If you file this claim           [J I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP             [J I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.
                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 A person who files a             and correct.
 fraudulent claim could be
 fined up to $500,000,            I declare under penalty of perjury that the foregoing is true and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.




                                  Name of the person who is completing and signing this claim:
                                                         Anthony                                                                      Jang
                                  Name
                                                          First name                           Middle name                            Last name
                                                         CBO
                                  Title
                                                         Bridge Solutions Group, Corp.
                                  Company
                                                          Identity the corporate servicer as the company if the authorized agent is a servicer.


                                                         1 Bridge Plaza North, Suite 265
                                  Address
                                                          Number            Street
                                                         Fort Lee                                                      NJ              07024
                                                         City                                                          State          ZIP Code

                                  Contact phone          212-729-8252                                                  Email         anthony.jang@ bridgesgi .com



 Official Form 410                                                           Proof of Claim                                                                  page 3
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~BRIDGE                                                                                                            Invoice
-
~SOLUTIONS
     GROUP
                                                                                                     Date            Invoice#
Bridge Solutions Group                                                                             216120 18           10710

1 Bridge Plaza North                                                                                Terms            Due Date
Suite 265
Fort Lee, NJ 07024                                                                                  Net30            31812018

                                                    Bill To

                                                  Bon-Ton
                                                  600-A Memory Ln
                                                  York, PA 17402




                                                                                                      Reference Number



      PO            Quantity            Item Code                         Description              Price Each         Amount
                                164   Services          Neeraj Dwivedi I Jan'l8                            75.00       12,300.00
                                  3   Services          Pete Munro I Jan' 18                              125.00          375.00
                                178   Services          Vi shy Rao I Jan' 18                              160.00       28,480.00
                                  I   Travel Expenses   Vi shy Rao I Jan' 18                   -        1,169.57        l, 169.57
                                                                                               -




                                                                                              Total                 USD 42,324.57



Please remit payment to:
JP Morgan Chase, New York, NY
SWIFT- CHASUS33
Account - 87276 1838
Routing - 02 1000021
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~B RIDGE
~ SOLUTIONS                                                                                                       Invoice
- GROUP

Bridge Solutions Group
                                                                                                  Date
                                                                                                 1/3/2018
                                                                                                                   Invoice#

                                                                                                                     10692

1 Bridge Plaza North                                                                              Terms            Due Date
Suite 265
Fort Lee, N J 07024                                                                               Net 30            2/2/20 18

                                                   Bill To

                                               Bon-Ton
                                               600-A Memory Ln
                                               York, PA 17402




                                                                                                    Reference Number



      PO             Quantity          Item Code                       Description               Price Each         Amount
                                165 Services          Vishy Rao I December' l 7                          160.00      26,400.00
                                170 Services          Neeraj Dwivedi I December' 17                       75.00      12,750.00
            ·----               4.5 Services          Pete Munro I December' I 7                         125.00         562.50




                                                                                            Total                 USD 39,7 12.50



Please remit payment to:
JP Morgan Chase, New York, 1\Y
SWIFT- CHASUS33
Account - 87276 1838
Routing - 02 100002 1
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      ~BRIDGE
      _.~SOLUTIONS
                                                                                                                                 Invoice
      -      GROUP

      Bridge Solutions Group
                                                                                                                 Date
                                                                                                               121612017
                                                                                                                                   Invoice#

                                                                                                                                     10668

      1 Bridge Plaza North                                                                                      Terms              Due Date
      Suite 265
      Fort Lee, NJ 07024                                                                                        Net30               11512018

                                                             Bill To

                                                         Bon-Ton
                                                         600-A Memory Ln
                                                         York, PA 17402




                                                                                                                  Reference Number



            PO                 Quantity          Item Code                          Description                Price Each           Amount
                                          190 Services          Vishy Rao I November' I?                                160.00       30,400.00
                     --   1-                6 Services          Pete Munro I November' 17                  -
                                                                                                                        125.00          750.00
                                           36 Services          Neeraj Dwivedi I November' 17                            75.00        2,700.00




                                                                                                          Total                   USD 33,850.00



      Please remit payment to:
      JP Morgan Chase, New York, NY
      SWIFT- CHASUS33
      Account- 872761838
      Routing - 021000021




L __ _ _ _ __    _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ -                     - - - - - - - -····-   -
